                        Case 2:25-mj-01268                 Document 1           Filed 06/16/25           Page 1 of 1
$2 5HY &ULPLQDO&RPSODLQW DSSURYHGE\$86$ Mark B. Dubnoff)                                 USAO CW No. 25-142


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                                                                      IRUWKH
                                                    (DVWHUQ'LVWULFWRI3HQQV\OYDQLD

                  8QLWHG6WDWHVRI$PHULFD
                             Y
                         Clift A. Seferlis                                       &DVH1R 25-mj-1268




                           Defendant(s)


                                                   CRIMINAL COMPLAINT
          ,WKHFRPSODLQDQWLQWKLVFDVHVWDWHWKDWWKHIROORZLQJLVWUXHWRWKHEHVWRIP\NQRZOHGJHDQGEHOLHI
2QRUDERXWWKHGDWH V RI                       May 7, 2025                    LQWKHFRXQW\RI             Philadelphia      LQWKH
     Eastern           'LVWULFWRI           Pennsylvania            WKHGHIHQGDQW V YLRODWHG

             Code Section                                                          Offense Description
 Title 18, United States Code,                                         Mailing threatening communications
 Section 876(c).




          7KLVFULPLQDOFRPSODLQWLVEDVHGRQWKHVHIDFWV
 See attached affidavit.




          ✔ &RQWLQXHGRQWKHDWWDFKHGVKHHW
          u

                                                                                                    /s/ Pauline Pogorzelski
                                                                                                     Complainant’s signature

                                                                                           Pauline Pogorzelski, Special Agent
                                                                                                      Printed name and title

6ZRUQWREHIRUHPHDQGVLJQHGLQP\SUHVHQFH

                                                                                 Scott W. Reid Scott W. Reid
                                                                                               2025.06.16 17:07:23 -04'00'
'DWH
                                                                                                        Judge’s signature

&LW\DQGVWDWH                  Philadelphia, Pennsylvania                              HONORABLE SCOTT W. REID, USMJ
                                                                                                      Printed name and title
